8:07-cr-00098-RFR-SMB        Doc # 82     Filed: 06/12/08     Page 1 of 1 - Page ID # 305




                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )              CASE NO. 8:07CR98
                                             )
             Plaintiff,                      )
                                             )
             vs.                             )                     ORDER
                                             )
ROLAND K. LONG,                              )
                                             )
             Defendant.                      )

       This matter is before the Court on the Defendant’s motion to reduce sentence

pursuant to crack cocaine Amendment 706 (Filing No. 71). The Federal Public Defender

was appointed. (Filing No. 72.) Defense counsel has entered an appearance. (Filing No.

75.)

       IT IS ORDERED:

       1.    Counsel for both parties must submit either simultaneous briefs or a joint

             stipulation within thirty (30) days from the date of this order, regarding the

             Defendant’s motion to reduce sentence pursuant to crack cocaine

             Amendment 706 (Filing No. 71);

       2.    If the Probation Office has not already submitted a worksheet to the Court

             and counsel, one will be submitted within thirty (30) days from the date of this

             order; and

       3.    The Clerk is directed to e-mail a copy of this Order to the U.S. Probation

             Office.

       DATED this 12th day of June, 2008.

                                                 BY THE COURT:

                                                 s/ Laurie Smith Camp
                                                 United States District Judge
